                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 1 of 40



                                                                                                                                                                                              Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: PAUCST 1260Pcs Flower Smiley Face Clay Bead Kit Include y2k Trendy Cute Fruit Charms, Mix-Color Flat Polymer Clay Beads for Bracelets Jewelry Making : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/PAUCST-1260Pcs-Include-Mix-Color-Bracelets/dp/B0BG8RXCMT/ref=sr_1_127

   Collection Date
   Wed, 14 Jun 2023 11:41:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   obxOlrcZyxfMo6Y69LzJvzJV0x/s42aKiq7esSKJN0+xpzFBppbH6arBQEYl0P5RmVLDRiPhHWfSCfr7iV+jZ6N1rxty+3omr7BIWhOWFHUwYFMgTCvzUtHGhtTFHei3QUs5F2Ny5Neu68Tvj0448DLchdPGaVHbHkschP2UsRA=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]PAUCST-1260Pcs-Include-Mix-Color-Bracelets[fs]dp[fs]B0BG8RXCMT[fs]ref=sr_1_127]]_Wed,-14-Jun-2023-11-41-04-GMT.pdf

   Hash (SHA256)
   270dee0de81028995493bf04c4edf7f629e7b5ea52972fa852defea5999a57e2

   Signature (PKCS#1v1.5)
BIEA4rZoiD7k/fuCEPhBegpPZGqL7dFbXnTnJn0l90jw6eh7N6y6gkI0ucvOxMorcz7G8ZIV9o3SzWtuw51l6IKhGKb25Jtdl4YswHhLJT6KvOvnTytO3h5mORo/pWHa+Zh+TGDW4DqzI8Ftf/yJkc8MsT8WBFOc79jKypxJvmg=
                                                                                Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 2 of 40



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 11:36:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NSk09o0wMn8lMSXo0+T8WHVZKRcb9X0DmXTbFyFxH4FpnXxFx+4law5zuu6JVJCCVPJWfCu9VEi2ds
   +hbC01HfaPiT1nIvNJWQyNofg1YrcpibRqtBVDPkJs2wZybGwbujBsJiGd7qVU1skMHDVRbntkr0Ja1ozZJoa0hTBc5zs3CTobyyF8Uxevvg79VN4dS3sRQoCMkbiCdN8eKRpK5O5xLfsA7cPrRMQFIdct2E4OW0BFAtPz2HauY2shj8+LLn8QT98+a7qqIf7bQQb30GITVFaUx3eIk2w6DfkE6aDDnvl
   6gKuUsTttiX1S7dEVtXZDa2VacvSsapz/k3YqUw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-11-36-39-GMT.mhtml

   Hash (SHA256)
   dd868572c008e7bc0d7b5d205be7fa13e7694263e07e430b759d0eefd8b5ca4b

   Signature (PKCS#1v1.5)
ljqbPA4utq3mfH/Y3GDlVRbdQMcbRbTI0ljHeV0AKt6/VEQ+mmBgW94SIVlxplBK7M2WXFv1bLKR5f52cBVa7kytBIBiPhH0YmIQFGyU/owkC2pPT7BI9rAkKnLLbwgjURMiC4kJT/7TXKgxYXqyDpBL0MepE4XwFpEbaA7LwIP0C9vcZvfGuwIY864EkKidMxAaRP/7Jl157kRT29PJInwww6aAb
+xB3Q8DfS2Z+k2VOE+EV4GfdJ8gs0nu3PTZf4fg3yLY3QXJViJMgY3CRJyEEf6oD3kNobtkIw3hJOtyrkCxzpNVMpv6oBFp4Tuuo8YUnUjrAR1aAj3GGnSSSg==
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 3 of 40



                                                                                                                                                                                                                                       Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Pecfamly Preppy Room Decor, Tapestry for Bedroom Aesthetic, Smiley Face, Room Decor for Teen Girls, Preppy Wall Decor, Girls Room Decor, Smiley Face Birthday Decorations, Flags for Room Teen Girls : Home & Kitchen

   URL
   https://www.amazon.com/Smiley-Tapestry-Bedroom-Aesthetic-Hanging/dp/B09Y5LPVZ3/ref=sr_1_45

   Collection Date
   Wed, 19 Apr 2023 08:04:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   b7I9fkfvFJHwzVHe06lj80oafO909b5HNfjO7M8f3EC/gt8100WAZcxBOalBAwqzqCYvOW2tGXVWoLB+THoIANc+8FhWmglV68Ir0CM95I2Fz1uWPX3lDN/U8P1qMbd1n56uODE3qp9q8uWjOv+s+x8Y6IXckydj2JlzN+TkfHM=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Tapestry-Bedroom-Aesthetic-Hanging[fs]dp[fs]B09Y5LPVZ3[fs]ref=sr_1_45]]_Wed,-19-Apr-2023-08-04-21-GMT.pdf

   Hash (SHA256)
   858739380e858f2b459fee35eb341377ad313e103fb91207bb88358f447aa178

   Signature (PKCS#1v1.5)
XeVPkiiR9JZwa9mL4v4I47D2bwTnXSd0qSwBrSOT60yb90W4Sb8w4+FsA3Q2KwLB+CHuNuqeXp0PvFPrv8tUFkaaSx2/yxlCnmkZeHnB8zABSogUOZPdXYav6abAHCSfev+ZenZo1q6RqS4/ByxQn/up5JW03zZHBdjBGlWlGxw=
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 4 of 40



                                                                                                                                                                                                                  Investigator Name: Sian Kelly




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 05 May 2023 10:01:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   PSh5nRxr+oreLQkq+BOQAiMHq0CfoZVaaDestzfocCGinCYuYZBKT1f2Tm6f5GnJefAQmKtky6kA1axM21HalPZyFr+Mtbh9bG49alo5fOjf/aesjn2E46oxrYzQfuMQFBErInRGeJEvd95FFBwUZpdItJQrpmWu+ggm1fmN/5rAg1Tmg+4Xrwffsu5PlmJzNl/mH41u9rcFNt7I9GUoWdNiJ
   +NEYgEzRHuN3LqWIyLXgfts8qJuuEvQppwuPk6ZMXmBqsF4YlDFNw42GoUX5UF/eixxF79Uuwxy4tubIqtBPBaESnvH+utm565+bTeH6k/JrNP3T+T6qOQlSp6gEA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-05-May-2023-10-01-58-GMT.mhtml

   Hash (SHA256)
   6d7770babbb24c04cdc545961f7e497a9ee365b88127aa1384b6cd7087338724

   Signature (PKCS#1v1.5)
uU9//wZS2GHQZ6M07gob9ypUpEceqbe+EnuCpIPZL9gGw3Wbj/N3agtd+InIu+e9aMApHnV1q3KvPatgM3i85gXuw5QEr3moLyDgYf+frSFKPJKYXj5jZU3uCvMXp6Mn79dCHDZmMKzTMonj5llWU/oXgd/QgYZPs4152LGE8U9VJibz0SLXqEZUcB5tQ5cDRQhrG8pJMJOxdyPD5bTOz7xu
+9wpw0hZk7HHGJzpjqYTqQ4UCuNCZrLhWXOmGSQjQrSHYbmJxVn7BmB7opU/QNBan9H+eZIvuKz7VxF2D8KYSLwAW85h69MXdsdKNL6MhwreeIk4C3n59WHKPclfHA==
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 5 of 40



                                                                                                                                                                                                                                       Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Pecfamly Preppy Room Decor, Tapestry for Bedroom Aesthetic, Smiley Face, Room Decor for Teen Girls, Preppy Wall Decor, Girls Room Decor, Smiley Face Birthday Decorations, Flags for Room Teen Girls : Home & Kitchen

   URL
   https://www.amazon.com/Smiley-Tapestry-Bedroom-Aesthetic-Hanging/dp/B09Y5LPVZ3/ref=sr_1_45

   Collection Date
   Wed, 19 Apr 2023 08:04:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   b7I9fkfvFJHwzVHe06lj80oafO909b5HNfjO7M8f3EC/gt8100WAZcxBOalBAwqzqCYvOW2tGXVWoLB+THoIANc+8FhWmglV68Ir0CM95I2Fz1uWPX3lDN/U8P1qMbd1n56uODE3qp9q8uWjOv+s+x8Y6IXckydj2JlzN+TkfHM=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Tapestry-Bedroom-Aesthetic-Hanging[fs]dp[fs]B09Y5LPVZ3[fs]ref=sr_1_45]]_Wed,-19-Apr-2023-08-04-21-GMT.pdf

   Hash (SHA256)
   858739380e858f2b459fee35eb341377ad313e103fb91207bb88358f447aa178

   Signature (PKCS#1v1.5)
XeVPkiiR9JZwa9mL4v4I47D2bwTnXSd0qSwBrSOT60yb90W4Sb8w4+FsA3Q2KwLB+CHuNuqeXp0PvFPrv8tUFkaaSx2/yxlCnmkZeHnB8zABSogUOZPdXYav6abAHCSfev+ZenZo1q6RqS4/ByxQn/up5JW03zZHBdjBGlWlGxw=
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 6 of 40



                                                                                                                                                                                                                  Investigator Name: Sian Kelly




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 05 May 2023 10:01:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   PSh5nRxr+oreLQkq+BOQAiMHq0CfoZVaaDestzfocCGinCYuYZBKT1f2Tm6f5GnJefAQmKtky6kA1axM21HalPZyFr+Mtbh9bG49alo5fOjf/aesjn2E46oxrYzQfuMQFBErInRGeJEvd95FFBwUZpdItJQrpmWu+ggm1fmN/5rAg1Tmg+4Xrwffsu5PlmJzNl/mH41u9rcFNt7I9GUoWdNiJ
   +NEYgEzRHuN3LqWIyLXgfts8qJuuEvQppwuPk6ZMXmBqsF4YlDFNw42GoUX5UF/eixxF79Uuwxy4tubIqtBPBaESnvH+utm565+bTeH6k/JrNP3T+T6qOQlSp6gEA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-05-May-2023-10-01-58-GMT.mhtml

   Hash (SHA256)
   6d7770babbb24c04cdc545961f7e497a9ee365b88127aa1384b6cd7087338724

   Signature (PKCS#1v1.5)
uU9//wZS2GHQZ6M07gob9ypUpEceqbe+EnuCpIPZL9gGw3Wbj/N3agtd+InIu+e9aMApHnV1q3KvPatgM3i85gXuw5QEr3moLyDgYf+frSFKPJKYXj5jZU3uCvMXp6Mn79dCHDZmMKzTMonj5llWU/oXgd/QgYZPs4152LGE8U9VJibz0SLXqEZUcB5tQ5cDRQhrG8pJMJOxdyPD5bTOz7xu
+9wpw0hZk7HHGJzpjqYTqQ4UCuNCZrLhWXOmGSQjQrSHYbmJxVn7BmB7opU/QNBan9H+eZIvuKz7VxF2D8KYSLwAW85h69MXdsdKNL6MhwreeIk4C3n59WHKPclfHA==
                                                                                Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 7 of 40



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Qualatex 22 Inch Bright Smiley Face Bubble Balloon (One Size) (Yellow) : Home & Kitchen

   URL
   https://www.amazon.com/Qualatex-Bright-Smiley-Bubble-Balloon/dp/B0163QS12I/ref=sr_1_183

   Collection Date
   Tue, 09 May 2023 10:42:36 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   dzCWGjNOtu4LzUXJJZ9lBEJIJOOU9ClZlsegrCQGH41AfXWTyC61+hXVCxQIL+25KwGDFpM1pPRBVnVLi+YYcchwASWPReG0qUZLaBmbAzhi1GIkj8Q26Z3AHifbWUXN5hl64WOLWoxs+7y9lQ3TFlIyDGriXWMYy8myp+eJe3o=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Qualatex-Bright-Smiley-Bubble-Balloon[fs]dp[fs]B0163QS12I[fs]ref=sr_1_183]]_Tue,-09-May-2023-10-42-36-GMT.pdf

   Hash (SHA256)
   4c426b706c87132d7e473d70432985850f035402d0fbafcac8f0f7525974dee1

   Signature (PKCS#1v1.5)
hc36dKWPni3R8JSOWiot7qqUdzlyrQ1zwqokvpTNFqXEPxPYPArA3v28m5WpJJgxUVwFdrZZEVG/4gCcjO+SAZSyjC7hpaxQlT3k8rUBgP1J/i+0X+BIN9zSN+FYoeeojnWNMDcIuq46k4wa00cqXuNEnBiP05gKPvxouLFuXKo=
                                                                                Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 8 of 40



                                                                                                                                                                                                            Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
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   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 07 Jun 2023 01:12:17 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.118.122

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hZFw8D3HA6LwzirigB5OAtBK4tsLBj9A4FUt/s8nkWFmhQR1Yyb85xeix9e131WVS5Kn7hg4pgl1Pqd+6DBmA9LeS1myyWn5Piq27az0fFOctmrTWDI+2OyNB4LEgapQ0IxOdf4kqYzDibreCG2el8OyOSXfD7RQ08dAdMFREqJwc5qDi6KVKV/
   pX4Qm0Pp6WNAMpin7vyuWFYcajJ3Pv7q89OZypOELR0X9WrYXuhkb1hYgWD/UVhVkUSFUWEkEMImX40ZGyWR759eowRktpMd4y1hVhtaO/OiCfyLzxUsDNjgdtPG3vxsv/9UJw5DMZhe4ULuGij8XGqcAcGKsag==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-07-Jun-2023-01-12-17-GMT.mhtml

   Hash (SHA256)
   0c1e0c6def97077f5bbbde95b5bbc1cc64995c92c244d82c89f23441f015dc3e

   Signature (PKCS#1v1.5)
OrQXYsSuznmL2pLhTuwDVVnYEww0a6rGk9vyF+sucwb99t9qtFwL7pIiOI6Zk/Ag8m7Qqm+uuJ+PjEXAlwFc4D3woFTSPEU7cY8Wy3BvxMxjSM7n/8WQLBezffQLZuWd8vKRxHlccFdpApZTZmleGZFFEbSJv0gNMR8lgmOirK38pp09wmDtF0bxdx/ICvFFMQfmkYwjO
+uiuqT4O7pQLkziOLQxe6j6pFQjQs8kkpmeEx+pidBV+pj7SUgJ2SRIgFyt7VT1XtXSdYTFIn/P7LDlmpOMJJdp6TXePixyjXVdL61wGYidFf43s/iNvAHbWEV2h/UVUv0upMVWeBkK7w==
                                                                                Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 9 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 10:12:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ns7V6vHQiVou5PFqXBH3t30P/fXg+YRBTBEJNRu/yJ9O7sdZn2HnqgqoWR/5ylZOrffvuYcWhLHLtxy9WH0caAPhBv8BZCPZx9rhruYT/+1aJASyN2+W6fD2nI+fkuXJe2eRF4YJolK1or/
   SVNSWW46ewj/8QJ6FWLcsi00bHMnWQvLBcpBP7XghGjzf5cqNwm1v4PazZW0p4PTIclInx5H78QEydRHk7z0o6PDTKxwRpKtP6kWw5ZfI7osG6+KGudR7pw/UIMefwNnKlN4sfRQMJQRxcJpdxihp/Qlnrhxkq3lznmMyHNAT3ak3s4D6/sEX+kUehFPre8vZv+jn2g==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-10-12-48-GMT.mhtml

   Hash (SHA256)
   44219eafb44e481e18ad9b5b9a12dac14f4c6f696f3ed12829eb76bcbcbbfe9b

   Signature (PKCS#1v1.5)
c5XkdZojoOUOadPIsU/0zB2Hd4xah5DD2sV/+GO3hmbnwqqRqJrFr+oZuJBlakfFBbJpt9AbNahiU1GsF5fZNEVxTNlEJtaTqMS+kMZf1ffsAnYr1cgkH3M8hi5wYriccrWcu8R+7dHGV/
QDOH/10FpuZpYgoN9hJXTOvq1aHsr3dBVa1EZtdk2H88NAT8jpqzS4McO7WAvWAaMFTNr5epXYQ1MQxrCGiRXgDxkbRrEzKhDEWTmZdoxUOnRJaTOiA1dPZOw70y81Yxxp1KHizvLN8gAELNarl/aEo5Qdo9HUp36fAxDRzhIA2Jpq05SkX/MvKwtaiKK7ULpY6zyf5Q==
                                                                                Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 10 of
                                                                                                                      40


                                                                                                                                                                                                         Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: 25,000pcs Glass Beads Clay Beads for Jewelry Making Kit, Preppy Bracelet Flat Beads with Smiley Face Bead Letter Beads Charms Pendants, Heishi Beading Supplies for Girls Handmade Gift

   URL
   https://www.amazon.com/dp/B09BR8JBNR

   Collection Date
   Thu, 15 Jun 2023 10:43:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   c0v9iSUwQDVvr/hCZX2W7XQLXlSofZp92GqiGqiV8QnQ76wtMlgwtYRhQOxVZWj/ac9UIJZlBsLE5hMaoIjoR9MBVjdnd5gCskKrgszEYrd4KpDHwlSiOjVmT6T1LxCHCQ5O7hhiUaOmKDFMTo6XgdwwJfZG7aVQLUb0bvFduWbJjlDFeSZOdDULf/z0Z4H5IufDmWaKMh7gK/
   KV5eklW5Wjo718xdS/djyN2PwN45NMl6sSr6kQe9GChvnUmJ+F8f5cgXm47aDmkabAOox0PMfzjEsjSalO1F7+7OpKCJ7d4j8gFopF0C3T3tjMQ+Moh07E10DjJ77lsXAxRU3T/g==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09BR8JBNR]]_Thu,-15-Jun-2023-10-43-43-GMT.mhtml

   Hash (SHA256)
   0a467da3e8e58c3956b4a7c0bb53bf2283ab2f1d60a8bc900e339f3b9999ef9d

   Signature (PKCS#1v1.5)
AaRc8VREjf3pOd0yNn5KHiKh/6rtFZu0YRB60iQbO5+Cg47DH7u607ltVum4hwzw6jdXfkqYQpG0xtgWJ8SWi062RXduKTDjAsTdPQqJ8qeqGYF12UayPVp8mKRubqOg/KldmwH+mM9+7u5auC/xTtMBNC1XmalwJ/he5MBGV227oVGppOX2+nMxrsGiNOYeFOMRoCSaD5s
+FWlCRLVwMPwZ3u1CgJ3T1BCJqt9PFQysAYxyXZyV+F0kuIO3VhdVd4025w6JBI949Ip7u+CsdbFicQ6mY1t6RxzBwwZylbl1SRB015rXa9GpiFA9sMqD6epuNBw1CT0yd74fkzuU+Q==
                                                                                Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 11 of
                                                                                                                      40


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Smiley Face Bucket Hats Summer Travel Sun Hat Packable Outdoor Cap Women Men Teen Girls Trendy Stuff Preppy Accessories (Black,One Size) at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/Smiley-Bucket-Packable-Outdoor-Accessories/dp/B0BXLXGX61/ref=sr_1_215

   Collection Date
   Tue, 25 Apr 2023 11:32:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VGXy7MQNpzids2pcE36Naf5QBJvYgiOSHYTMzrfSinf5QXzxSNpFwnan9/Ma07PQqqXFIiMa1TntzdRoksPq4N2Ays4Kx7+BhBdTIodjA2eUSCIS8V971V2b6ef569mKxC+XP8k+CNZ+d/hfsJ3jq+17uiCSnRx8Ect3hrRzfz4=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Bucket-Packable-Outdoor-Accessories[fs]dp[fs]B0BXLXGX61[fs]ref=sr_1_215]]_Tue,-25-Apr-2023-11-32-33-GMT.pdf

   Hash (SHA256)
   993c49b7160d2bb4f35db748a8a77d7138431bd263e8a9356f1063bd1780496e

   Signature (PKCS#1v1.5)
rjhYcsFW8P8CA05gYkTCQQ5s28SCXjBeCsESNV5S1LcwKOGGhwmkpeJKCiNA1hpHBxeIMn6p1sBizK2odV+mn1hLyAUb6J4UFxd20pDTWFj2aeCSe/6XNQj+/5dacKbtjDZJXLxxQSmGTKbII+L95xk0f5lEms2yVe/WVhwE5ic=
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 12 of
                                                                                                                       40


                                                                                                                                                                                                        Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 04:17:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.136.95

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lXi/ZU5KYDWQK6wfdXLttBYQL4U1eirrNzPMz35Fpqir2Fz5l8i3YrBiJ1AZkVxkshWk4RVPu6I4725CCdnsHNFNmnh98L5O0bgv6WkC0yZ46+RM8lfc1Jfp7t/5BOi3KsF8lDkqqR3I67ZakVKwSkNA0VOJW+R7LkGQIfz/IYUclZxr2Wv/
   sBoPlC3G060REaxk8OOsVmbmVi60RcMWm6mokDahlOF19QTKY6p/x7YjZHzSJ7TpSsQ/FTdN+cOJNqsiU8j2wR6pNaQpRk5NxsfXEHTJc7JZ+RlZE8hqbVvj1Lr7CbQH0eOUnL++uxHiReINYWFvsUD3VsLnGTiyyg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-04-17-50-GMT.mhtml

   Hash (SHA256)
   e140e06fd9177d19e1782bb8a7ba3b74ca4d8d36a89c2c3e2c3dd051d6224415

   Signature (PKCS#1v1.5)
h8GyFDrr2U6oeD8hmuTyOa0TTrp6BRRJKXJ5R0emQuZ6heeo+Q26reSQRowvw2KqxXE4mVysnf+m8KzO4G5Ope2wHAKbKSKDg1TXWT2VpsNge6EAqxwUSzWwHihBdlI+PJM2AXcLYT67jBW9axK8Byhg/ou7S5019KfDCGCSj38hTeGD36RaHNmtTehhB7mAs70L7HqoVD
+kgK44L5XucOtM0QXI113rSS8hg9Axpej4w8wvlKIYONTuVLN2rQyFiZUcMnpkOx2XxLONNrN8TnBa5giMqezm14YUE+/VxxzPkP5Ua1rC7QKh3zuFeKgj5n/mAD0pGdzZoBnFwH+0Qg==
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 13 of
                                                                                                                       40


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Buttons Pinback Badge (1 inch, 10 Pcs) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Smiley-Face-Buttons-Pinback-Badge/dp/B0B66RJT9H/ref=sr_1_100

   Collection Date
   Wed, 26 Apr 2023 04:50:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mG2yrSoEs2BKKP282HXRJRNIVkl7SOHaXDztEwXpGoRM6fxMq6tXnJraZX4PsEb0/W3oFq70ptO19pUFCDT3mLOiA+k7tMQ2SDAw0BggM7BFREQt1KLGEE9uasmDrhe7GjL7gS1FjOAYUTzALvwpbIpDZDcFE4JBY6GbHSb8a10=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Face-Buttons-Pinback-Badge[fs]dp[fs]B0B66RJT9H[fs]ref=sr_1_100]]_Wed,-26-Apr-2023-04-50-40-GMT.pdf

   Hash (SHA256)
   b881ea6fcba4ae321c2287f4d0a4f28fbac1aa00627dd291d9ac86d398b89e12

   Signature (PKCS#1v1.5)
naaIGedtuA85/ZMejZN556d0NPSXgJoIVYaGoXx3rsNUYvs/G5Uu67k+Cn476xQMrU57L4ibufB+gqVyuzp99UcMeagKGEwJxNfDulpWS81gnoyK1H7JRKOlbL8mZoFoEDA1wQb/v/pnjN32/U1J7/QerapIRab1sE8z7KPgQDE=
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 14 of
                                                                                                                       40


                                                                                                                                                                                           Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 11:49:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.142

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MKf/VmWMF+xL/e9+9ZHuXQ0EE3v0y3HtpgFRDG2MS9ZtG0ujLatsH8+bVkv+uR+4ZSJVA5faii3M/2ixbfHvwpewXVAZnd/kjxS6EVkhehJ1HnRhQ9mgHZsvWI07dO2PyqL+H1oVSP72W/2FRZvyXT0+epHSQzR7wNEZz0rQYNvi8lPqoabde
   +NdVvjKdyRc7M9g1r7ZIc6n7Y3nc6mOMVS0oxEl7fmHB7zjYVar5i3fKFECE4ZGN5l4duiSfrQnyMwwshVcQ/KNWRB/RMkiVK5km1eeKm0YHtd5HdMBWK3URgJKlDWBP9KgIB+X6vBMBdsMQrDms1s6HKQxjDNSSQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-11-49-03-GMT.mhtml

   Hash (SHA256)
   8f84728046a0ae0bd8cbe6275dc9564ca91f7896dfa848a59e75fc691f2300e8

   Signature (PKCS#1v1.5)
jtKabs5PjvKWcrVJgX0V4T5enXk/8smhBop6eGVytmiY5P2sGGfuoDLs1Uvx9/9Sx9P8HCH/bLeCbqKP8r9VPR6KkmCv9j/Gg3Rh5OMtGuPZHeAuYzTnGtffsHaFEqOaAqiBJyRhJ9knmDoMaYNc4sV2jUCkNpslonVm9NjjzC/WLrOcz3/
L3wwJf2XfTALUIaeb0hnNaR48JlzMbdd0xV4TEm6HQvyfoXrL8vGkGiLGcyfblJtoien0KqodWlguqr2U/Rf589hJImxezPXTmYqeQGPoocwbCWMFPJRWKbPvJamzaii8oS7bzCDFSvG0p+Us8P2lk+H9sL05iKE71Q==
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 15 of
                                                                                                                       40


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   VORPE Cute Multi Patterned White Smiley Cotton Ankle Socks For Women, Size 5-8, Pack of 5/10 (Set 3) at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/VORPE-Multi-Patterned-Smiley-Cotton/dp/B0BZQ4TYDW/ref=sr_1_37

   Collection Date
   Fri, 21 Apr 2023 09:57:50 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NuWH+H1zbbOjgjRMzFjujb3x9qPecqSZLbgLUeD765hMJT7DRU3oe+LLgPGM1YwT6ixhwcRZPzk2uGaIZdjWDiWT/AMLKoPBw8EzQc+Bd3hHGEDwJ+vAM6r3UF7ZN0ATv5zkh+6eCPkdLomnHXt0NmT14BvFe8CeNglnCmpr534=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]VORPE-Multi-Patterned-Smiley-Cotton[fs]dp[fs]B0BZQ4TYDW[fs]ref=sr_1_37]]_Fri,-21-Apr-2023-09-57-50-GMT.pdf

   Hash (SHA256)
   a998939122d770faede416d35437fd803ab147ceadde3786928eaea56c49735f

   Signature (PKCS#1v1.5)
cHdCutxsrXEiLgYhBqg+hf0x1OCSVn8XCXVAtnBZ7Onwwp/m+qWXfvRZsLiK1u3aFBOknktOkj/Q/QMTa3+2rXKLnQcI14LG6HW6HjMheoNP1FfIUyYNPKapBHh7f49eDN+p8QUMMOzoe85ZPP+pk/03xfeHZkMVY6+CCttBtF4=
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 16 of
                                                                                                                       40


                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 24 May 2023 06:08:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.80.105

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gizFArUnl/bboYCNd9iDcXZA2FIJsLYvSSH/Eg9S7No3Rf4zueZcCTlAHBb8YzLK28iGkv5uEfw3e5jBwqm54RWg5eDxtd2qSyZVN3Fh2XVuH/rKFGKA1OLgf7fu2n3bd/lzHjlLcXP5w9THCehIEunU/s/cF/jKgwc8qblGRV81y3Nt172JQFogkuPNiA5wptYMIdSsp2NRb
   +wxxErBL5U6KuPTQo68MVvAnN87IPB4RUlQa0Ciz18YvcUQPkHigRvgVLnAkoWJoT1jmkpsqEyK9GZ4dq81RkDsgjnxO/aEuKSElnLYQ+w72yD4GGR22lx2l++KcB7i5YaJKd07fw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-24-May-2023-06-08-30-GMT.mhtml

   Hash (SHA256)
   406d911d0f1200b81664d6c241609837dcde270cb7693307ca9601d445b1bc93

   Signature (PKCS#1v1.5)
TMMx//HmFDRRPK7ZsRdTdOvknMx1yVzW6aRC6L9zkj8epwSvHhe9F8joJfPdYgvGXngBwc3z12W656yV7I1yjNeb3dxBPLO+wao4hwrQuWGrkCFB4WcexZxrOsFDmAcrIAIl+J44LVjwNznyajbBJmLBR3zbmuAli1TJK5BwdMjZTy1igH9/
bcXAb/5LqXQDIEjosaDMjD5m27H6WDD0PtYuQ97x7cmrJWdNrx75fbFzTjb6EnU26MFdGx8FKejHQ88Tb1IFeHuMNy9f90GHhYpFTpN+mKMmwmVEeTXYZsKifRZdjSWwoFq+lLjXsLF6MCOtyhv3XTteaRuHAJB96w==
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 17 of
                                                                                                                       40


                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: 100 Pieces 12 Inches Latex Smiley Face Party Balloons Different Color and Funny Style : Toys & Games

   URL
   https://www.amazon.com/Pieces-Inches-Smiley-Balloons-Different/dp/B08B886V2B/ref=sr_1_16

   Collection Date
   Tue, 09 May 2023 10:07:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   UMeGuYj7RTsyLw5n9WfP6VEGid6/6ZH++qJcrslXLkPFkzZB4unDQX1uF5zNHWup0mr30sE/45skQeI5szbScam6zc/iFn+9eOA7mxsD5xI8VccWrkK5JnFgy2lo9udxIS5MtbyX6tbQykbUQ5f1y4pQlyiuoQtL/Cvx9Zmhmag=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Pieces-Inches-Smiley-Balloons-Different[fs]dp[fs]B08B886V2B[fs]ref=sr_1_16]]_Tue,-09-May-2023-10-07-35-GMT.pdf

   Hash (SHA256)
   81e5f7c13d973afc3c65ec3b6b0e544e35974d1b536cb3012c0452e1e6e426f1

   Signature (PKCS#1v1.5)
lDSC3fySBD3KM/qWgVTTIV6opKrPlktZ+yRgYZdady8dVf+SiBJ8wUf3hXhdmq8DPg1CVSB2N7ZZrGf4GFC9CfEMka4CVuQv6uxD2CxLMMG7RfyQLj+nZeIFiEZmlQJAFjLmOI1uYQszK5g3TMEIcUogIkVTxKL6WhlY+wXTYw0=
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 18 of
                                                                                                                       40


                                                                                                                                                                                                          Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 08:34:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MZzus8eolbNOjAPocrzm7qjL8WHq4DXvOREpm0Y/l+BTlrZgVdoygDy0Of5jIkFb/mEGjKnbrUq58f83GRzy7H9nV/g303LQbVI0E42P/b9b1XiZHbPhIfLU8zCZgva7C9LCThLW4EwB2VALJyOZC4Y3ODyaB+I9MkZT+1d+ohhdWexBpIOgQF8rStubPekkuae
   +NgJMPqgyfVmaJBXxGLUFasVnTovtCM5RHGWNKOvT97fW8UOQpfgqrZ9wZeAHvd2EiBzJVJKUTJ6QqzQbQLcdWHohMxBV8NhyPxft99KigfYl9fxLV+j/s7pmxCZnN1S8Ytlx5V+OmPC2wZMyXA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-08-34-03-GMT.mhtml

   Hash (SHA256)
   45ed996ed8cbb50e8c3813d6e4b062653fd297cf530bbe32636b6a73bf629d7f

   Signature (PKCS#1v1.5)
iEOepMhke72609ZOSrgvBE2ky2KgRuN/qLS4xZaWHUNYh9eAJQB2S1tx1KzuWS8Y4RWPwbeHZ4C8TkEYft3Pehd3d0biGC8cWqbaQsVotYLwpRH2OivpaiN+R1MdYw2Lu8OEprhNrm1LqVVi6hpTTz2zYuc7ssBtGb8ryQ7T63fs7EgdABow628rOQHejXbqdP3LdW4NJ3F9YiNb9xar2/
vosDiRLURErPIgTGM9z1djW9QxfOVjei/MBJXjzbW2EZG1zARCRtGohdPFfUndjBykxs6SUjc6mEImOGODZ5PfBh1Z6eBonOrZXU2MxV8wXCikkCXxkXS1zpBLetO7cg==
                                                                                  Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 19 of
                                                                                                                        40


                                                                                                                                                                                                                 Investigator Name: Sarah Christodoulou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Duvet Cover Set Queen for Boys Girls Teens Cartoon Smiley face Warm Pattern Full Comforter Cover 2 Pillow Shams 3 Piece Colorful Print Duvet Quilt Cover (A3,Full) : Home & Kitchen

   URL
   https://www.amazon.com/Smiley-Cartoon-Pattern-Comforter-Colorful/dp/B0C3RT849K/ref=sr_1_288

   Collection Date
   Tue, 09 May 2023 10:00:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   L95BfRRjO449y8zY4VLFeBKzAtSohJwkZDqlVdaXI2I4QZHBgW8tADhZH1R/YTGOYv7oHCetT11yquqOaLoRa6IHfu8J7M35Qrk9c+woUIzniXuWyVI9P11zirpt7mYmyI0+jAF7jfzyyciv+6+gVn1vQsMnMyNzo2qtoCvbWYc=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Cartoon-Pattern-Comforter-Colorful[fs]dp[fs]B0C3RT849K[fs]ref=sr_1_288]]_Tue,-09-May-2023-10-00-02-GMT.pdf

   Hash (SHA256)
   9702d49edaa1262a87025db79d2ef22e095ebb983b461ac1b31721b183c9ce88

   Signature (PKCS#1v1.5)
jiHDYxyQG4j+S5nQBL3EOFKGifLhAn3ZFD3g6Fx7gcet6Mp31iSLZjDUYi8Kkvoq1PPqRdkHiJUIl69Fgr4vXEqV+J0R/fA5SUil4c1cQIfFTWZv8TsGwUhm+cYccslDeZEbV2/3u1WyhUwEn9Nhyf61I9kIygycXdbEWtQK8ko=
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 20 of
                                                                                                                       40


                                                                                                                                                                                                           Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 07:31:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   AI2DHBUdeA+6FAdgnkvGWYHYzUTzors+/vv0dSr7GJuroLCGQpDkR8xQhIF5MyHS6ITRsP+02vGjIcqahnmTsK36Gc4DrmBgdB5aWDcvNaPUEnYEbCSwi2RuGT8Ug2tP2gtGdhGojSzVlYju+amzjuf/qKoVw6VP5KmlecMy6RJ1s/yeQdRSwQT2RGYZI+N2yZc/uNa0UEidyDearkMd3/
   qS6N1ekMvxboFMth5NmcKsclohLRp4DSrnqFAhJsmt72DIHF2E+UiVVjzazMOoVNJz4rQ5fu97lPoSmvHBT3DC8vKXme+IduuCSniedWznySOi04ZUTn4Wul3608sD1Q==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-07-31-04-GMT.mhtml

   Hash (SHA256)
   e8d886a6a6c3d50a5f9e901296cf8a5de70b1c6fa4f3e91fe700b9d86e0fbc7a

   Signature (PKCS#1v1.5)
TJ+CP2C/bQAX5/sM81ArSb4zVqFZXuSPWDld7QEfkyctE/OOOZyqOHzWr1aowsgStT7qatdmqmgCfhAF9v9Z4nUUDhoAHlKgZnc2Z7w68PPSrQ2dR7/+UZweFntANfEFOQG7qWbdkl3d/rYzcQCIFtnSzO2yBvi6dkQF1Ff
+TamIQEhUaAgEYd97Mpy7AdK8juunerpmqzPxvDw1ecHc60nUCrKqjeD6SB/9Ab3qm+R89u8ui0AoVGp9pOU7Ahi9Pcs8riiCjw0k/qdI3rUn0LYSlPDS/HN+E81s/YCTwLHsQhVRP4ntsSEIRcOZlUi/vRTMcVz7wuCdDkHgYseplg==
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 21 of
                                                                                                                       40


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Smiley Face Trucker Hat for Women Men Summer Adjustable Snapback Mesh Baseball Cap Pink at Amazon Women’s Clothing store

   URL
   https://www.amazon.com/Glitter-Trucker-Adjustable-Snapback-Baseball/dp/B0B18KYPK1/ref=sr_1_14

   Collection Date
   Tue, 25 Apr 2023 09:28:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Wbi7keRGCuWZd+a2+w7nFmRvmhmTcPfgqL6S9I7XtxBlzysRMdzOapGY2LWJWkhbO9XS+ODVdXDmNvh8rQYWEGGXBGMepk+dUbjM/MEcwLebIOPbm6JXrZPmFEvbpPj6y9vdEc9W4Sm1FS6mgTuYltOgDUXLF3zqsvRC5pIGOf0=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Glitter-Trucker-Adjustable-Snapback-Baseball[fs]dp[fs]B0B18KYPK1[fs]ref=sr_1_14]]_Tue,-25-Apr-2023-09-28-26-GMT.pdf

   Hash (SHA256)
   8d077b7f43888004c2c25b1519120b6078142514190dad93ad029a24c8ebee6b

   Signature (PKCS#1v1.5)
RGGEhXtMzsGDWskoMcSOxa8SVqqvh6Y2s8IyyyMu9y2wsSI/r9pRZQxNkEWRpVDZaiqnkugQT1ElxL/65fFS0cMowymxADtW1X9zidBtEiIgI8B4D2fkx/yCmU1parz5jrx/OpAEpGxBVBZnME6WRdmtS+uzuYkigHP6Q7l7cWM=
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 22 of
                                                                                                                       40


                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 15:12:13 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   rBt4a/jzgFfi6WLSvyN2Fs6PFWGAEvZdVwStuzp8UcsQL0fDPpH4fmYgt8bCdpaLpAfgK97yZkKS+FFkyHNMv0V6LLsmd6N/UaPUGAoerdRGuypJp019+6KkPtiuPogJo8n/F09JO1kABn4l9eyCYxc1J7Nb57XEgUz5xpydsPybzC3FBHRh9f9Myt/kbqqOgWV99jukhKRY3TP40pQqT
   +6wP7FYO2+pvwNE46Xb2CvRDkul0J9XNvyHOPpUUb4jHGtUBx/oFmgqKzRg4ZmQex6FhvScSDvzUIL+Iw9Ej78Dv/wSDJTROP+5HsmIk/+gnw8KbNyJrH1KCx/NDmWdig==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-15-12-13-GMT.mhtml

   Hash (SHA256)
   00051a11de98f604db56cadcd8880eed4cdc20fdf73c05eddada4010fce628b7

   Signature (PKCS#1v1.5)
EUWPPqvsd3t3dsVAW8uRNJBDQFFl9dFYd5iDB4TelxwJyj7dp7SiDMbQCsKLoW7d4G670f2iye2bOqNgV3kmy1WoiweDx7vP2wSNQkhfpC3R5tNImpp6WUB+tsyb0W+6Qtwt/UqjGcVIF0Jrt9HAmqAtAP5kO
+NCTffhWPoGu9xklDh8Yc7k3CjXqNiun5evWQv1+p3gIm4uCD9iUQAduyuXh91g0FQCYPmHAmIkdrsN58OK5oSbWMCCldaLJgIOX+b+Bp/b3n+CQkqXSX0D9OCZh7Ja86ukWxIC/s8kpSMTNJunvvlLuoLdJS6OTwjcEzSDWMbDstq8+SWMzhpCnQ==
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 23 of
                                                                                                                       40


                                                                                                                                                                                                                                Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: 28pcs Iron On Patches-Chenille Smiley Sew Iron on Embroidered Patches Applique Patches Rainbow Heart Smile Face Cat Claw Plane Bear Sewing On Clothing Fabric Jackets Jeans Repair DIY Craft : Everything Else

   URL
   https://www.amazon.com/28pcs-Patches-Chenille-Embroidered-Applique-Clothing/dp/B09WMKC7FL/ref=sr_1_76

   Collection Date
   Wed, 26 Apr 2023 07:33:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   EVPTkL9o+8BxvWKUU927/WaZRiLfK50M1VsBnpNf+PN1knhDPnpo6E+2qmol4zak40JozflnVz12pIgPVEDDVYt5CbbxoSOgBrS5XnFho1ClrENnR6+cFGEKKfYBTSEp61LrMkKlF5RPyuw4PyYnH0mQmJ0YRatbyr3WoLyZ2Jo=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]28pcs-Patches-Chenille-Embroidered-Applique-Clothing[fs]dp[fs]B09WMKC7FL[fs]ref=sr_1_76]]_Wed,-26-Apr-2023-07-33-43-GMT.pdf

   Hash (SHA256)
   76be86d791b5aa159840d7a025e74d702fb6afaaaac76466a520bf642e2d02d5

   Signature (PKCS#1v1.5)
Uz0Hv7SS4vyQbU2jhc5+ZrxaQewHe3O0HKJPI4cIasQhku9bTbZFQbDXSuqgm9MnQF2ZxGjajnqai5bvkf1jGoF9YcC2ISjQ2QRG3BNa5kCCQg60kQfarXu7ioBpJiN3r2F0gos6hnl5wNHNImf+j8tLV9u5gOps8vMQ4hvExhM=
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 24 of
                                                                                                                       40


                                                                                                                                                                                                          Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 01 Jun 2023 09:40:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   gP1XoThA9NKDFYk6vb7XyF0kUWg7NBvyCW/Go9cEp2B7lkBtib+bW4zAmIacGajMrCDMHvVubTMs7kLbKPR9F+nGf1AKNn9Vc2QKzFzO81vOlquaLGD9xTXC8RrDQx4jotsl0rEzXMvUictUUtx6orxDvsAlt3EYNvjGmBeRgvsOyy6dx0e/Rl+XhJWICzrPwCe/
   JP2yMVmECGwSzWUy0f7szkh7TYzw4dH4+6gVj9nZ0kpRciNoNKL3/6B6xIpNPPjnQwg0iYICZo2QcnBU7ZtHVqSv+JsSm4c+2h45avPYR4aFjZoBfRvXxVZkSP2j2DEI3eVaDIwNlM9CNtv2AA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-01-Jun-2023-09-40-56-GMT.mhtml

   Hash (SHA256)
   cc6b704013f5f6ffc893a81362a0727bf1b0943c0773d3a0430d52bb15846654

   Signature (PKCS#1v1.5)
fkUyCx0eVK7TB3H5x6APHEDFFIHEp2e2eYvr6zHPM2nYFNHQ7RcsGrRNDI9oT+Oz/qD+uO5cVRO2Okx9ll/sBvoA0nQ17yJZdpLEAZfmTerxIGvIj8QqgyTLNuZxOE4mBKuo4dpyRttA+7J5oqLXD
+PCrINX5gQkeTEzSrCI8fhLIprUQVFDh4SJ17X5iCoED968bbhZRx2S3x3NlD9xgwntrnqG5NQhfocZhnOONq77pFsZZHScJSFXFNJxcWXyj9mv1yhvtJXqVTG8F18otmbx0yhX97weM1KcVRFQLLesjOyRgH5zf9IkQ6Kgm6wnSno12n3i649AXhrIoRBvUQ==
                                                                                Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 25 of
                                                                                                                      40


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                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Puninoto Compatible with iPhone 14 Pro Case,Cute Cases with Smiley Face and Electroplate Edge Bumper Cover,Soft TPU Shockproof Durable Phone Case for Girls Teen,Women (Green) : Cell Phones & Accessories

   URL
   https://www.amazon.com/Puninoto-Compatible-Electroplate-Shockproof-Durable/dp/B0B8RNXHZ1/ref=sr_1_145

   Collection Date
   Mon, 24 Apr 2023 11:12:03 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hxAJawEOmqsjdKyuQ+5Mdhlyj8Q5q8PiDXUnec2u07JEyYeHUS5X4K+w4lRNqCrlksZzRSUc9w6asUlcUrYz0R4KYpAtIfkgSpmiv3vk++mto6tYlAUZFjAI0JjNPruIzNRC8OsB5/BZbBCCxKcVUtDhgg/P//EolLLf2hfd3Nk=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Puninoto-Compatible-Electroplate-Shockproof-Durable[fs]dp[fs]B0B8RNXHZ1[fs]ref=sr_1_145]]_Mon,-24-Apr-2023-11-12-03-GMT.pdf

   Hash (SHA256)
   bd03c5116a90a075e903bef4e3703d0e1cf23cf9d0977b7b5580972da5f1b4a7

   Signature (PKCS#1v1.5)
EXJ3ITkw/bnrXQJx+lF4Aqn/1YUCrPo2s3J9YCYIPNDjp8zh5B7823TjOr7ZsFWqBhagH8fhgJjAIsc2z0epw0AzsOdebNEcEMviAMOxKnl/3AzLlGEKTkma3rVAo4Tgsh/3N8Kb+ANNsRIt9acQVAw8zyNu4+og6K8zRDv2SA0=
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 26 of
                                                                                                                       40


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                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 16:33:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   SS+XUn/HKtsiuecuiHQExh6Hcf7vfaCdihTGBvqSwAfc02FoQk342/RQsHh2mUQFzIGO1QUwkQI37oVqYUlIAmWgWM7zdLTeFIBcSQN/Ri099jnIofhN3kYJL4xFLIygZlK81kSmDC06xxYty3f53bzzWJ
   +30AN/5ZgOu38IuUd8jKm8Mw5KFZGKY1JVzZuCZNHFs4AlaMgvFPR1O9Z1CIW2Gmv3RX2mHzTSZcTR+4xKQyrWggL5+eO9x+qFEVf4bHSJAaZnfzdaQzr6QDBB0XpY7t89KZPsMJLMnAkR0mTEzyXZo2Yhigi7+mzzs0BnXD4vDyaEgGXWfKKQya1i2Q==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-16-33-30-GMT.mhtml

   Hash (SHA256)
   fd591de4946a4b263a5d03e121e62f8c85f0d188cd02c27a6496a75752fa485a

   Signature (PKCS#1v1.5)
K6U1tBjczAudX+3CDBZ/MuTFKrpHoMIkqsICECiqz3AXr49FBoVcD8czCfk7uDZ1GSpwPa7ab6yFTIQ+6kHrj+itknwJencv68fq5QX22STBdS76kJSbv1cZHjOswpzZ6r4vYxTKdrjxgRJmLSNB1IohlOS6yT2Bb764H2L+1yLpBk/sjdMH4m0XBaI4vtobrvmqXMe15J
+5yN9yj1+aQXA5iO2LxrJtSGGgHd8dkCDivJK5ZOiYMOtXkgpw01gydQUN8f9tJAJ3Ux7IqiL+QtUuHORgNWvQNvmeb4MlQ0L1UmsgFyJN27G7BQVHXP5sIohcsWtbW341CICfLoeoxw==
                                                                                  Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 27 of
                                                                                                                        40


                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: 30 Pcs Preppy Style Party balloons, Y2k Hot Pink balloon Preppy Birthday Party supplies for Preppy Smile Happy Face Party Decoration : Toys & Games

   URL
   https://www.amazon.com/balloons-balloon-Birthday-supplies-Decoration/dp/B0BD7H34Y5/ref=sr_1_101

   Collection Date
   Tue, 09 May 2023 10:27:32 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qiQuNrHbNU1TVjUxh4NH+pSMURCfDmcuGCc9VUsVBeit21n0KFUcrmQDx/0DBkIaP98sQqLdQNqwGpH1nDg7WlsG6Ang+TE2ZvRdV5tEerKZtJ+03R8r/3JXoVzHjz96gcaDavoHSuoRxNV6PeiyzVMWNkWSaU+L1RwehSlB8Wc=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]balloons-balloon-Birthday-supplies-Decoration[fs]dp[fs]B0BD7H34Y5[fs]ref=sr_1_101]]_Tue,-09-May-2023-10-27-32-GMT.pdf

   Hash (SHA256)
   c2b75e534d6d36e7e3f954922f887ab4a1bc6bf51dbf5b98579b1ec21886e918

   Signature (PKCS#1v1.5)
V47feN/VFkCW/X+RhHSprxE5IPgLelL+QhnPQ/oBUqCkRlQ8AIkcsyQMTlSprwK+IWlPTCcZA/dmCukV7nyYm9T1DWnWWa/1TCBT/7S7NzLR4vRMSrgPFYVcQJ4968LbLPlExo4FR+PEXHy8FWWbPjEkB0D0YZPqbyFt8PVCTO8=
                                                                                  Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 28 of
                                                                                                                        40


                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 06 Jun 2023 13:00:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.103.82

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mRs7gG/DiyOXLv79BCYMRUaFVoJ0eZAnL2lLMIgFpRoMOGzr8lYJ6C4Gj6C/DoQcj9fNXtwOlTX3YL6TzJYzKu3RFd10lmFHteoT2uys1gbPRkXqissnN4ZtQTwNYMM1VHJIuhLfz/vPrWaOOT3go/
   CfRNakkwUd2Dod0qrCHvkX6AjSbBH2zBPyh1O19LL3OYxd9L6snPI3qB3CFvGns10yB3Y4Fr2A6zzOp8xkDrMn2OP2SL9LYZ2WneF0Mr1Lw/SBf33j5rZ/QEZapknq0YALqM+VPZcF2V69GXT6m5ZCwdt7hSD7LDoX/SMRZWgTRXj2zAh/52Nvvd3wSIOLHA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-06-Jun-2023-13-00-20-GMT.mhtml

   Hash (SHA256)
   59416ea171bf411eb029ee1ae85aa9f0af92a918f674c7496add75dbf46bcc64

   Signature (PKCS#1v1.5)
eWqk83MMFuoZpqJANveN4YUf5HnKXv1ovhf9eQiu9lkAgM6W33o1S/OmY1GF9yaLt6uEdI2ywjmnj2IhmrrcUrOGepF0yRHCLSkxZ3YC8s56Knll94k+VHbeo0C4tyvE/eKHil8YU6xXDSq4IH9hDyj/XDc8HWotUMmqL+zXVU9KwTBO8q0hVjwKz7GERhE+gB77sffvJu3LAnaqjS66A/wiM
+iWUUgzIjpaH+aeLfoG75zWTyVM0ZFecySG2EtsgWhntbDR1z4lRDwuOz7zgDQN09iKeK0iqDzPfUBX0zbFbFU8BHTgj8fs84De3tRl3ewx/JOAY2FIFYAr20JZPg==
                                                                                Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 29 of
                                                                                                                      40


                                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: QGHOT Pink Smiley Face and Howdy Tapestry for Bedroom Aestheti Cute Wall Hanging Preppy Tapestry for Teen Girls College Living Rooms Wall Art Dorm (60x40 inch) : Home & Kitchen

   URL
   https://www.amazon.com/QGHOT-Tapestry-Bedroom-Aestheti-Hanging/dp/B0B54N1P6H/ref=sr_1_201

   Collection Date
   Wed, 19 Apr 2023 10:42:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hsBzBJR0rLDh8fwimnvf9HjyYCMaXpxHLPw8xhObP1zb/8t0rZO3PNdbQliq4ZDCxakIVxH5Zt68b0+m4d0J4+K/T8WC6Rh0tyiUV/KozZpHAPZC1H4xiGbhwtHzNALUIss018arZW1Z73pcoXMXfJoAvCaFyILmw9fsEqMi+oE=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]QGHOT-Tapestry-Bedroom-Aestheti-Hanging[fs]dp[fs]B0B54N1P6H[fs]ref=sr_1_201]]_Wed,-19-Apr-2023-10-42-54-GMT.pdf

   Hash (SHA256)
   58665bd45c0fac6ce90f424eef7e6b193477b492234a7f498da45bf2e7947047

   Signature (PKCS#1v1.5)
a6iuRYtNVh1kKpD+qSPjG070zCXxOrx8R5cmcJ7krK5pZ20I6AzeND2YAvh1jTw6eyNAQIEzDow5uSsPrFwWsfYGpUJThwQv+hS4lZMM+FGko8zr4Z4tLd7G+PRSbtGb6YG4fjlnUqiTWx1gd4MrtS15Keg3nqEDm7sSUIwnjxg=
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 30 of
                                                                                                                       40


                                                                                                                                                                                                               Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 08 May 2023 11:24:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   u6PKNGBqTYFb4KL/GbGtHTzjbevanpBhd3vA75w8ZrrjlmI1B+x4Hs6mWedUxomvN+qvsdiAJqoGDQjPHvmfv1wwM0RgU1PlLR2p+woxyuOhj53RZY7YvCPDncsPs2vdvwdcx7cEZ4/l4Otoec0otr6VcaYUlnR64dSiqap5ZLK/xXygSR+Y4K8x81SK8Bps1F+0ioJMPGaas7F11rNmtdJN/
   bgjMd1wJaqTuDSzPJihHsBB23GBaIFTPbSkbvEzbObnOWd4OwIBLC9zcpUsXk/elKOpNkxzvHkIInpLSUenKWWYHyye+55A8Vrh/426Q8P3AROR8b/1cifmQRDQrw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-08-May-2023-11-24-01-GMT.mhtml

   Hash (SHA256)
   d7e93117a2939c21bae0245aec777e4c73307f947775e6e389d030bf55bc12f3

   Signature (PKCS#1v1.5)
Awj2u8fbF5L4UacuS/heGFFyWDYk1kBt7RWRydpt4/adovcVQCiC8WaU1NLghNvyekJAhBnt7S9UtRW6rYFW/FfdjNo2fBGpTefcvHs7oZ74pTqwkfVkjKTcM2YoSWn/9TCsLqhA8WUhnLGDP51MkOMN2L4A6U4XlHqKn1dljbeRP9isnug9LyzJoqoH6s0/RlXJd6w6H7KhKOWYhyK5L9c6+VaCvf1/
IZOongndozsELywJHhGTJ0ICdTKsXqUWd9A0RpCDmauU2oxljsJlUG3HQOeqWUICi3gtVUNjkIYCigqZ84xDx4BFEYYGKJItgU28nymgdNxrkwClkaCeZA==
                                                                                Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 31 of
                                                                                                                      40


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   ioexvdos Smiley Face Trucker Hat Adjustable Foam Mesh Back Hats Can Replace The Hat Pattern for Men and Women at Amazon Men’s Clothing store

   URL
   https://www.amazon.com/ioexvdos-Trucker-Adjustable-Replace-Pattern/dp/B09YCQW4VQ/ref=sr_1_267

   Collection Date
   Tue, 25 Apr 2023 11:54:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qFQ/lPinHRoDkw02I1T22099RAGL6B+x3K3EQ+h0CR17L3qsENXJLIqWjpqUAqldsafjXdvzBxKvw59j5OqGrEFyHkNOcgvJb8cjZbgY+H7fVgMpx2yeAFSxt1vGZFNrBGeGE1jlQoWYd9u7bhLWHesnuAL5gCCi6CswKzv8ryM=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]ioexvdos-Trucker-Adjustable-Replace-Pattern[fs]dp[fs]B09YCQW4VQ[fs]ref=sr_1_267]]_Tue,-25-Apr-2023-11-54-22-GMT.pdf

   Hash (SHA256)
   b7788cb2bb633dc37116de4c6ff019a62e7ee13d6446fcbef2b96923991ce6b6

   Signature (PKCS#1v1.5)
dMFdvrihDFWDYX3PxvBCvldxLwvjaeoMrc7pwLNyTndilLalax1HNI1v1JJMpFt5+arkbf8nEHc44cQLVd24jS/suoPc9d341o7rfa9me9l8Cnz0QSz+ms0p/p4CpIMmdHKftFKk2xJKFGjT32Hn1JUgkcADsxiAjyJ2yDupIlM=
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 32 of
                                                                                                                       40


                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 05:31:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.136.95

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   C5I9KatVlKr/JARg/AmspLFncH0INybSTx0KpFvkcEWFDtBBkYZralukfj5INparBiMPP4JaOx3mfOe3wUySwxloj15R5/sNpc/jOZTQiuLWTdsamwzaN79nZgXBhGLjAGDNt5FjLJT8ksuCJ+IyDcOBHNNeuAqXNUppXaCqt+661LPcbAlJagGmn+7WxnztB8fBETAeavPVJpGU8wW6tQ
   +MjgtSm83kKLD4f+B4wmSFGFFVR+yQpxVEsG5KvGdI5jxIMIfXTk4Nzw4enUdi+VwS40xmU/fGirAj33iFr5CvjNc+1rLz1g8reHkl37Q4cuhLzDpZmlBEo38RB14B2A==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-05-31-33-GMT.mhtml

   Hash (SHA256)
   29864c4d1835bb93e42d7fb2da2d141c066e13bbb3ca03bb037997cf979efae0

   Signature (PKCS#1v1.5)
MKXjgBt8HkfcD3UFzJAOwthCFi14YZWwDeDFcmnMw7O+hxOrrSboCShWoaQgK9sj4ltHH7w3+GnrRmcyrtKnMKDmZVX6Tnqz1IfssL4SIWyI6Exe30VawBPHgK9tlQzEMIjmaHsCtOd+mb8j4vThDoa0obb2q/5Tc6u4PLPrHbM1Cwe7Sasx5sManeBMbNUBFpbNOvODS+Wq8Mi4d33n1pZi
+f7T5VlOp0trNEzvHML6g6jupjihYreOe1W5qLvilkYi4ZWvEeO7I9qfTnU5Ga2Y4T9/qIyNYN1L2E72X5ciMdQSMHh7wO3USnDxofdP8iy/u+rhY/zwg2gE3HepAw==
                                                                                Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 33 of
                                                                                                                      40


                                                                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Qimulgociz Trippy Smiley Face Clear Phone Case Compatible with iPhone 14,Cute Purple Smiling Face Case for Girls Boys Men and Women, Unique Trendy Design TPU Bumper Case for iPhone 14 : Cell Phones & Accessories

   URL
   https://www.amazon.com/Qimulgociz-Trippy-Smiley-Compatible-Smiling/dp/B0BPCPG6TV/ref=sr_1_166

   Collection Date
   Mon, 24 Apr 2023 11:29:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   N+qO2XKSv82hlfQC7yw3pYdri1y3/198z8er4JmY9egN+VPLl1aRnAoHpvp+c/Tqm3KcU5HpVdMZolAXWADHdnSZnIc/lZKFmIRkpxmL8vzuTvQ0By5SA15OF+v6fig9BperbD4cg9GdNV34zE6Jh6aF50Ke0k+eH5YbX3BKq2Y=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Qimulgociz-Trippy-Smiley-Compatible-Smiling[fs]dp[fs]B0BPCPG6TV[fs]ref=sr_1_166]]_Mon,-24-Apr-2023-11-29-11-GMT.pdf

   Hash (SHA256)
   e38b745083d8575dbc27f9e9b6165700e6fdb796fbfd8ec1dc245311e9d2f9eb

   Signature (PKCS#1v1.5)
WfDY0bu5uVrs5gHLZc0EEUlWbcX1aCuBKByc3+NWauZbrbtDDnWvA1jWUsNR8xygBWRkH/YqjI6VQxYYXzTQJ8/I4E/s0zQN9mBpWsLPNP5SbSFpcg4s57wGcdrDGXZ1NKGUXNrYTSygB4nMGQTC+/ey5tbGsqnuCtGuilNtkYI=
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 34 of
                                                                                                                       40


                                                                                                                                                                                                      Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 23:45:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.57.61

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qyHGnw9IoCaudUGwsLZ38ltKHTBPh0jsL21An5ugWFpy5sOMw3AqtB596ZBAvzif7r09N5a6/ziFqFNwVmElYXzQW02M7A/NFzKeMpcdKPRuD4XOVXjTh100sLhDZzvnf7SHzg7OGsr/I0MQ4g0LuGnrwuZpwJuvqVPd6jRWlhAwGYI3SG74jGsQDKIq19vF
   +MGQAlGTYf51NJ4LDxSWfuCq9jMOuCG55tNd4Ec54ha5WZIDzQ2qrtMmBTCILH5rMGDXPjzdcIs8at913tbSB2cEJuqWQSmWFFfqonWhIDQd8/7gy+P7Bx0ZZmOiovJAlOk+hKGCNbY9bf52MMuFzw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-23-45-46-GMT.mhtml

   Hash (SHA256)
   8b89714102c33b4e9fb19f7ca6dd4142971ec2d9b65e803c6141773af8cf99e9

   Signature (PKCS#1v1.5)
FmCb2IcSxl2pSJ3UDxCt6ol7kuZGnEAl+tsQvozeZ1HHXLKTlJdFsS4sbyrcvAzQYleFyGkHfshOrZQck6tU81wyAPrxPNPlCFuVtkhF3UBbhNKyqB+VepdiFSobaV8R0dmXDPKGG69m16Vu38ZeGl0sAXFQFRMkLF4Ia3sV2YrVloqJb1sJyriBIAUn/
iN1BTYhnJcGv7iyMmHdU5SbSw4hzf0za5Frm0fLfIhmhgQ4g0ryP646C4VQesYwZ1xDZvWWFBuPG7dOANbO/T0RS4RcO3rvlW2bzDWdCHg3W9norEmqIgOFooaLidghryDMPAZ6K28NaqGQBICXyafQZQ==
                                                                                Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 35 of
                                                                                                                      40


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                                                                             Evidence Collection Report
   Page Title
   Amazon.com: MRXFN Necklace Handmade Necklaces for Women, Smiley Ball Chain Choker Charm Necklace Silver 925 Sterling Silver Pendant Necklace, Punk Chain Personality Simple Jewelry for Women : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/MRXFN-Necklace-Handmade-Necklaces-Personality/dp/B0C2HHNTKT/ref=sr_1_23

   Collection Date
   Thu, 20 Apr 2023 06:07:51 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JYKwv+OGXgJGSA9Xud9A+FB5/BqRfdMmndUtMMqbtywLM7Izec5mECbpDVZf/pn0G4Ep3qlmVkpquBTrVPXaT6wGnXpYMhYtpsUDm2nl04nkJXakDCWVxTRdq6XbuPoUL95KpHEhcFAo4nO8Qh7kMqzsBaSN1DlVGbrebHfl3no=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]MRXFN-Necklace-Handmade-Necklaces-Personality[fs]dp[fs]B0C2HHNTKT[fs]ref=sr_1_23]]_Thu,-20-Apr-2023-06-07-51-GMT.pdf

   Hash (SHA256)
   5907917cb19d4691b491e54ed7e2910b37e5b7af06f371caa7a5f4b4f0563f55

   Signature (PKCS#1v1.5)
N1w3fpt71DI4uddMd16QWd3LtjknMmx1725FAS0IBEqFr2pPFuIv19ON7bLgWm7+Kyo2kjY83Z+D/NqjiWEeBuaq6gfZc2mCKdUYd79nmQ9j56tbQ0KHRU3jB/oVLtrVlLagmtSkxqQysW1an2bmK1RA2yU52R6KT8jtVwPGY1E=
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 36 of
                                                                                                                       40


                                                                                                                                                                                                                      Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
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   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 08:23:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   cY/FV/Rn+Xs0O7fYDBymAG112rZc90GfRwyZL122NOIrubz6lav4X6or/v8wHESfgTMEopbxkGWQ2GBIhJiwBxVvas+aGkdZLfDuoLvWRSTXNi94gLjdHc7E+EH6i0nzluMVu1+los6px0Kvh317kKb2js0cdapBMMPvgnKkRV8KXvCY3JLdRpe+vDPdBuha/ch6bOAfKaHI41JP8TpGHnB/eQE/
   JSjLeVoZnyMZOrIy1JTuhuw0H4EZsMNsQUdEndYbPsCP6PYHScCjEWjm8M5qCuJhmjTRTEcKGsknmdFvjKSOv1XAjrjoUvtia6tHZgyV60X2KoH2hF4D/Mw5iw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-08-23-29-GMT.mhtml

   Hash (SHA256)
   fbc2ead5405534e006933612fe72bf45e93be7d5624a9d9213471a16c0f0958a

   Signature (PKCS#1v1.5)
OIcSgclUUwN7xfI/0umb+rpGFo8JGNV782RsdgTJlZ8kPo1jXgkiYpHyLSS1CEkQ4EorrfaDto4jzwb7gQ9hky0nzlsVHTEktJrcJeyI3/+v9cRuZ0oZ2D4RRekuafrqIVGeoh/6JadMWVZ1IurdZsY5r2jYgxglGkzBW0mCP0+svQ6BtdWj2z3u2884rRQLgbOn+7XT4aqY8qM3Ym2kwT2iT
+pQ46qRvGQyxzG+XVqa9EZgg4ItWJN0c0PN3kU6KE+7K/Mrl0vMYTOD66Hk0940MihwZORMx9FdXxWxA28jZYe/zqH6Xj/kC9hXSmjiubF2jCtFXazosNHhUqT5Eg==
                                                                                Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 37 of
                                                                                                                      40


                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com | JINLONYU Cowboy Boot And Cowgirl Hat Slippers For Women Men Cute Smiley Face Slippers Cozy Couple Indoor Outdoor House Slippers | Shoes

   URL
   https://www.amazon.com/JINLONYU-Cowboy-Cowgirl-Slippers-Outdoor/dp/B0C1SMDF9L/ref=sr_1_106

   Collection Date
   Wed, 26 Apr 2023 05:01:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Pr1rJcmdZEUYXoGvnB8siw0zwNp1yxYYu9BQYyaVFZ2sDhTU+WZgV7N6c6U5M7GhfxiohBnwNGDQOg9KCxyEBSXyyXq54HEYfXxA4iQq0FBL5pZ/KAMYyB46Qn4NLsEzNFHWQ1b8Z2Mrr3ysdDK2X5ccKk6Qo4tizCSXI1d5GG8=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]JINLONYU-Cowboy-Cowgirl-Slippers-Outdoor[fs]dp[fs]B0C1SMDF9L[fs]ref=sr_1_106]]_Wed,-26-Apr-2023-05-01-37-GMT.pdf

   Hash (SHA256)
   00f3d642c643e904470d575627f25e8b13fef81bc92cf5395d2b764bcc58148e

   Signature (PKCS#1v1.5)
TXewTxlQfVrQ7vdOUgmpN4YQtanodqmgGXj0kQ/kieFpvYiNfcqocOSDZJmsRv7+JT0QKo5sx2M4l4LAQh/7mfQ6nV++PfbWuqG2M6TMYXJQDZFClwbZ+UjI8n/rHvQrpIHnQaS0NXhbzWr10fakC78gAPmpEXlOqSHj5Vra/mo=
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 38 of
                                                                                                                       40


                                                                                                                                                                                                            Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
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   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 12:02:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.142

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YsCEA/HIyZDM0RZf59qdyDGvijJ/p2Rlo5RIZ6TZTZ3uMHvEkNg/nLJ4H90NcW7jeM7XQiL7stwDczS4K+j+XqnSHU1wZ7X73GwHIvhuPgZZMPsFAcz3a+Jpd+GjP3v9LoqnZMrNs19OUtM1VkBI8ZACRUh8/lJHo/hkjD11ZzcA2u9aSw1XFFjHJK7c902XKJISu/
   KQ7tOVrnU7J4SoEA5JrPRpM0kfH/s19kMMFva3QQbnqgW3Q1tsd+hKu8LOXP6IMWM6z7mZ4pe3jGLV2rjhH/Y9mXJFMh/U6EZI9nF7t6Ti4KFHnGKuRCxBl/QohUIo3arKWa4Gi5C2pJOBbQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-12-02-29-GMT.mhtml

   Hash (SHA256)
   25f3e3528105f477bf9a5b92fa0b525340fd565fad710e68cb996707c89ec5c0

   Signature (PKCS#1v1.5)
Evz+g14FDeMIRqLDuh8fQoraXQrfjGrOfLiHO8+0vKArbXlo7feoyhQb3AycYk6LorVQyOYCCanIijaP0zh2pR+t/niYKUDm0TOGoZw4TENPzTTqJFum5GTIZ/cGLh+Eb5V7AKj/uSq3Sex63udpttkIWr1gqmXz1d8KK3u0zpmJcI3IOZfcSfaqpwDKUZyjk6lTNi/
tRC4uRSBzkjx5fs85ce5Raxdye2jQAfIXssDxqiAiFY/tfBl1/dqK6MqZzpvmcir71oUQbtifitGtpaHEgwLdWgRwRBJ7lfUPOySB8FXd2cWFmRTm3r32WxvhR2JNkk2lMzkm3PJjgO7hjQ==
                                                                                 Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 39 of
                                                                                                                       40


                                                                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: NAGAD Smiley Piercing Jewelry Fangs Smiley Jewelry Vampire Teeth Vampire Smiley Fangs Canine Teeth Smiley Piercing Tiger Teeth Nail for Halloween Costume Party Silver 0.94x0.79inch : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/NAGAD-Piercing-Jewelry-Halloween-0-94x0-79inch/dp/B0BFGRY54C/ref=sr_1_275

   Collection Date
   Tue, 09 May 2023 06:30:46 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   j/rpbSvIGNCoEpTz5ik9a6Meug9UVV8eEBZ65vkyVOXA1DihHGiXCv5xitrrulUrzbpm4FNH/0PLxxpNj40E4Fzmx1sve3pi5zKZTFwd0vuO3+cBnnItLix3dodNcG7IduAtlw7aw7D4WImuDf9uqmMwMctVc7MglDJss4LV7uo=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]NAGAD-Piercing-Jewelry-Halloween-0-94x0-79inch[fs]dp[fs]B0BFGRY54C[fs]ref=sr_1_275]]_Tue,-09-May-2023-06-30-46-GMT.pdf

   Hash (SHA256)
   095e73ffde324af542be5e6307e1b58fb935ab14f7a52d2fea408026d75f46a4

   Signature (PKCS#1v1.5)
UhdeiBfp6AL6gyd9fTQOnM+XCHf0kqao3Ejn1TeT8W1nsfbtqgV/R7eK5w2O6THXELZyGo3f8Aj0WcxPFO6vrIrOW9BxjlG6dS0EBl/rN9tucwAADOP66eUmCwlqhwXdn+3WnGdzaGgOQoS/T0Z3tCfM/tnbGQ3qDXmVam+rXKc=
                                                                                  Case 0:23-cv-61203-AHS Document 36-10 Entered on FLSD Docket 07/27/2023 Page 40 of
                                                                                                                        40


                                                                                                                                                                                    Investigator Name: RemoteUser2




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 12 May 2023 15:48:59 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   auLb1td/azWoyTTP+q3yMnaZ9NXkwSyJPEE2GaBmY5WZq3PEIfKM6JGG2kqwIYVAOdY4nFmlFcOutVXgY8diHOuNHCNkRiuqWQ1GMxknQMGFtDr8o4bBykpy5pIebFXLEVAOpZ8/OnVWnqLPRpvcCF5XlZB/NRcrnrVz0B9lxhiUQ
   +8xQKFVOb7wviw5x41ITJgAC1xJyzDYGXb6dLwG6J5tWcOLjtp4aou7HIFSlwdgINJkMC1uE8UrxN97LTBORfsGs1WyOUEZ+pxVqtNyZg1HVUt49O7VlObbw8m8Uwa0ZLYKMKMOhq0RvE8i2YmrdFXpkflH2NqIMniK+5z6ig==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-12-May-2023-15-48-59-GMT.mhtml

   Hash (SHA256)
   f24a68b37952220b448d6a0058e779b619dc562415588319e5d9e33425b9b844

   Signature (PKCS#1v1.5)
os8kmYvn5k4yd5yIag4j0JCnd1RS0xw0MLmaLiT2NoCEO3LnDlxB+TXPazYL18vc+Oi2wLZ6Ro1QZq6Bhy+fZvEDzsXp8JM0LR726ULnBfaayl/LN+6EqKD17wCGtc4Jj+SsErb9jjoyrfKYO1zcfZc6P+kwHTwgGsk5cZeXLpSpP5lqj
+qXtyyqWbKsR81mvbCWwbrGm9HLwT2u6YBhxbvY7HVbQFNQN4AxyveW+sG+Q68l0/FUa+hLKk1Uldo9HZl/786JDx07npHdlCqhzQVAS00q6Wk5CPJgKqKa/eFtnc//8epsaQA019TWZi4wG2a2LWT/0CPRZbNY3f9mFg==
